             Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 1 of 30




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    CENTER FOR AUTISM AND RELATED                                  )      Case No. 23-90709 (DRJ)
                            1
    DISORDERS, LLC, et al.,                                        )
                                                                   )
                              Debtors.                             )      (Joint Administration Requested)
                                                                   )
                                                                   )      Re: Docket No.

            ORDER (I) SETTING THE CLAIMS BAR DATES, (II) SETTING
           THE REJECTION DAMAGES BAR DATE, (III) APPROVING THE
         FORM AND MANNER FOR FILING PROOFS OF CLAIM, INCLUDING
     SECTION 503(b)(9) REQUESTS, AND (IV) APPROVING NOTICE OF BAR DATES

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Bar Date Order”) (a) setting the Claims

Bar Date, the Governmental Bar Date, and the Rejection Damages Bar Date; (b) approving the

form and manner for filing such claims, including any requests for payment under Bankruptcy

Code section 503(b)(9); (c) approving notice of the Bar Dates; and (d) granting related relief, all

as more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having found that this is

a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that venue


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Center for Autism and Related Disorders, LLC (1512); CARD Holdings, LLC (1453); CARD
      Intermediate Holdings I, LLC (N/A); CARD Intermediate Holdings II, LLC (3953); and SKILLS Global, LLC
      (4192). The location of the Debtors’ principal place of business is 9089 S Pecos Rd., Suite 3600, Henderson,
      Nevada 89074.

2
      Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion.
         Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 2 of 30




of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances and no other notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court, if any, and this Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

    I.        THE BAR DATES AND PROCEDURES FOR FILING PROOFS OF CLAIM.

         1.      Except for those entities designated in Section II below, each entity3 that asserts a

claim (whether secured, unsecured priority, or unsecured non-priority) against any of the Debtors

that arose or is deemed to have arisen before the Petition Date, including requests for payment

under Bankruptcy Code section 503(b)(9), must file an original, written proof of claim

(a “Proof of Claim”), substantially in the form attached hereto as Exhibit 1 (the “Proof of Claim

Form”) or Official Form 410.4 Except in the cases of governmental units and certain other

exceptions explicitly set forth herein, all Proofs of Claim must be filed so that they are actually


3
    Except as otherwise defined herein and in the Motion, all terms specifically defined in the Bankruptcy Code shall
    have those meanings ascribed to them by the Bankruptcy Code. In particular, as used herein: (a) the term “claim”
    has the meaning given to it in Bankruptcy Code section 101(5); (b) the term “entity” (including individuals,
    partnerships, corporations, joint ventures, and trusts) has the meaning given to it in Bankruptcy Code section
    101(15); (c) the term “governmental unit” has the meaning given to it in Bankruptcy Code section 101(27); and
    (d) the term “person” has the meaning given to it in Bankruptcy Code section 101(41).
4
    Copies of Official Form 410 may be obtained by: (a) calling the Debtors’ restructuring hotline at(855) 925-7872
    (Toll Free, U.S. and Canada) or (949) 892-1668 (International); (b) visiting the Debtors’ restructuring website at
    https://cases.stretto.com/CARD; and/or (c) visiting the website maintained by the Administrative Office of the
    U.S. Courts at https://www.uscourts.gov/forms/bankruptov-forms/proof-claim-0.



                                                         2
       Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 3 of 30




received on or before August 10, 2023, at 5:00 p.m., prevailing Central Time

(the “Claims Bar Date”), at the addresses and in the form set forth herein. The Claims Bar Date

applies to all types of claims against any of the Debtors that arose or are deemed to have arisen

before the Petition Date, except for claims specifically exempt from complying with the applicable

Bar Dates as set forth in this Bar Date Order.

       2.      All governmental units holding claims (whether secured, unsecured priority, or

unsecured non-priority) that arose (or are deemed to have arisen) prior to the Petition Date,

including requests for payment pursuant to Bankruptcy Code section 503(b)(9), must file Proofs

of Claim, including for claims for unpaid taxes (if any), whether such claims arise from prepetition

tax years or periods or prepetition transactions to which any of the Debtors were a party, so they

are actually received on or before December 8, 2023 at 5:00 p.m. prevailing Central Time (the

“Governmental Bar Date”), at the address and in the form set forth herein.

       3.      Unless otherwise ordered, all entities asserting claims arising from the Debtors’

rejection of executory contracts and unexpired leases must file a Proof of Claim on account of such

rejection by the later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable, and

(b) 5:00 p.m. prevailing Central Time on the date that is thirty (30) days following (1) entry of the

order approving the Debtors’ rejection of the applicable executory contract or unexpired lease, (2)

the effective date of such rejection, and (3) the effective date of the Plan (the “Rejection Damages

Bar Date,” together with the Claims Bar Date and the Governmental Bar Date, the “Bar Dates”).

       4.      All Proofs of Claim must be filed or submitted so as to be actually received by the

Claims and Noticing Agent on or before the applicable Bar Date. If Proofs of Claim are not

received by the Claims and Noticing Agent on or before the applicable Bar Date, the holders of

the underlying claims shall be barred from asserting such claims against the Debtors and precluded




                                                 3
         Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 4 of 30




from voting on any chapter 11 plan filed in these chapter 11 cases (subject to the Solicitation

Procedures) and/or receiving distributions from the applicable Debtor on account of such claims

in these chapter 11 cases.

         5.     The Bar Dates established by this Bar Date Order supersede any bar dates

established, filed, noticed, or previously served in these chapter 11 cases.

   II.        PARTIES NOT REQUIRED TO FILE PROOFS OF CLAIM BY THE CLAIMS
              BAR DATE.

         6.     The following categories of claimants, in the capacities described below, shall not

be required to file a Proof of Claim by the Bar Date:

                i.      the U.S. Trustee, on account of claims for fees payable pursuant to 28
                        U.S.C. § 1930;

                ii.     the Credit Facility Agent and Credit Facility Lenders (as defined in the Joint
                        Chapter 11 Plan of Center for Autism and Related Disorders, LLC and its
                        Debtor Affiliates, filed concurrently herewith (the “Plan”))

                iii.    any entity that already has filed a signed Proof of Claim against the
                        applicable Debtor with the Claims and Noticing Agent in a form
                        substantially similar to Official Form 410 with respect to the claim asserted
                        therein;

                iv.     any entity whose claim has previously been allowed by a final order of this
                        Court;

                v.      any Debtor having a claim against another Debtor;

                vi.     any entity whose claim is solely against any non-Debtor affiliates;

                vii.    any entity whose claim has been paid in full by a Debtor pursuant to the
                        Bankruptcy Code or in accordance with a Court order;

                viii.   any counterparty to an executory contract or unexpired lease whose contract
                        or lease has been assumed or assumed and assigned by the Debtors, solely
                        with respect to claims arising under such contract or lease;

                ix.     a current employee of the Debtors, if an order of this Court authorized the
                        Debtors to honor such claim in the ordinary course of business as a wage,
                        commission, or benefit; provided that a current or former employee must
                        submit a Proof of Claim by the Claims Bar Date for all other claims arising



                                                  4
      Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 5 of 30




                         before the Petition Date, including claims for wrongful termination,
                         discrimination, harassment, hostile work environment, and/or retaliation;

                 x.      any current or former officer, manager, director, or employee for claims
                         based on indemnification, contribution, or reimbursement;

                 xi.     any entity holding a claim for which a separate deadline is fixed by this
                         Court;

                 xii.    any entity holding a claim allowable under Bankruptcy Code sections
                         503(b) and 507(a)(2) as an expense of administration incurred in the
                         ordinary course, including any professionals retained by any creditors’
                         committee, or any other statutory committee, that assert administrative
                         claims for fees and expenses subject to the Court’s approval pursuant to
                         Bankruptcy Code sections 330 and 331, but in each case, solely to the extent
                         of such administrative claim(s); provided that any entity asserting a claim
                         entitled to priority under Bankruptcy Code section 503(b)(9) must assert
                         such claims by filing a request for payment or a Proof of Claim on or prior
                         to the Claims Bar Date;

                 xiii.   any person or entity that is exempt from filing a Proof of Claim pursuant to
                         an order of the Court in these Chapter 11 cases, including, without
                         limitation, any person or entity not required to file a Proof of Claim pursuant
                         to any orders authorizing the use of cash collateral approved by this Court
                         in these chapter 11 cases, including the Credit Facility Agent and Credit
                         Facility Lenders (as defined in the Plan); and

                 xiv.    any entity holding an equity interest in any Debtor.

   III.        REQUIREMENTS FOR PREPARING AND FILING PROOFS OF CLAIM.

          7.     The following requirements shall apply with respect to filing and preparing each

Proof of Claim:

                 i.      Contents. Each Proof of Claim must: (i) be written in legible English; (ii)
                         include a claim amount denominated in United States dollars; (iii) conform
                         substantially with the Proof of Claim Form provided by the Debtors or
                         Official Form 410; and (iv) be signed by the claimant or by an authorized
                         agent or legal representative of the claimant on behalf of the claimant,
                         whether such signature is an electronic signature or is ink.

                 ii.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                         priority under Bankruptcy Code section 503(b)(9) must also: (i) include the
                         value of the goods delivered to and received by the Debtors in the twenty
                         (20) days prior to the Petition Date; (ii) attach any documentation
                         identifying the particular invoices for which such claim is being asserted;



                                                    5
Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 6 of 30




             and (iii) attach documentation of any reclamation demand made to the
             Debtors under Bankruptcy Code section 546(c) (if applicable).

      iii.   Electronic Signatures Permitted. Only original Proofs of Claim signed
             electronically or in ink by the claimant or an authorized agent or legal
             representative of the claimant may be deemed acceptable for purposes of
             claims administration. Copies of Proofs of Claim, or Proofs of Claim sent
             by facsimile or electronic mail, will not be accepted.

      iv.    Identification of the Debtor Entity. Each Proof of Claim must clearly
             identify the specific Debtor against which a claim is asserted, including the
             individual Debtor’s case number. A Proof of Claim filed under the joint
             administration case number (Case No. 23-90709), or otherwise without
             identifying a specific Debtor, will be deemed as filed only against Center
             for Autism and Related Disorders, LLC.

      v.     Claim Against Multiple Debtor Entities. Each Proof of Claim must state a
             claim against only one Debtor and clearly indicate the Debtor against which
             the claim is asserted. To the extent more than one Debtor is listed on the
             Proof of Claim, such claim will be treated as if filed only against Center for
             Autism and Related Disorders, LLC.

      vi.    Supporting Documentation. Each Proof of Claim must include supporting
             documentation in accordance with Bankruptcy Rules 3001(c) and 3001(d).
             If, however, such documentation is voluminous, such Proof of Claim may
             include a summary of such documentation or an explanation as to why such
             documentation is not available; provided that any creditor that received such
             written consent shall be required to transmit such documentation to
             Debtors’ counsel upon request no later than ten (10) days from the date of
             such request. Any supporting documentation that includes personally
             identifiable information should be redacted or hidden prior to submission.

      vii.   Timely Service. Each Proof of Claim must be filed or submitted, including
             supporting documentation, through any of the following methods: (i)
             electronic submission through the Electronic Case Filing system at
             https://ecf.txsb.uscourts.gov/, (ii) electronic submission using the interface
             available on the Claims and Noticing Agent’s website at
             https://cases.stretto.com/CARD or (iii) if submitted through non-electronic
             means, by U.S. mail or other hand delivery system, so as to be actually
             received by the Claims and Noticing Agent on or before the Claims Bar
             Date, the Governmental Bar Date, or other applicable Bar Date, as
             applicable, at the following address:

                    If by First-Class Mail, Hand Delivery or Overnight Mail:

              Center for Autism and Related Disorders, LLC, et al. Claims Processing
                                         c/o Stretto Inc.



                                       6
        Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 7 of 30




                                                   410 Exchange, Suite 100
                                                      Irvine, CA 92602

                               PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR
                                 ELECTRONIC MAIL WILL NOT BE ACCEPTED.

                 viii.   Receipt of Service. Claimants submitting a Proof of Claim through non-
                         electronic means wishing to receive acknowledgment that their Proofs of
                         Claim were received by the Claims and Noticing Agent must submit (i) a
                         copy of the Proof of Claim Form (in addition to the original Proof of Claim
                         Form sent to the Claims and Noticing Agent) and (ii) a self-addressed,
                         stamped envelope.

   IV.        IDENTIFICATION OF KNOWN CREDITORS.

         8.      The Debtors shall mail the Bar Date Package to their known creditors, and such

mailing shall be made to the last known mailing address for each such creditor, as reflected in the

Debtors’ books and records at such time.

   V.         PROCEDURES FOR PROVIDING NOTICE OF THE BAR DATE.

              A. Mailing of Bar Date Notices.

         9.      Pursuant to Bankruptcy Rule 2002(a)(7), within three (3) business days after entry

of this Bar Date Order or as soon as reasonably practicable thereafter, the Debtors will cause

written notice of the Bar Dates, substantially in the form attached hereto as Exhibit 2

(the “Bar Date Notice”), and a Proof of Claim Form (collectively, the “Bar Date Package”) to be

served via email, facsimile, or first-class mail to the following entities (the “Notice Parties”):

                 i.      the U.S. Trustee for the Southern District of Texas;

                 ii.     the entities listed on the Debtors’ petitions as holding the largest unsecured
                         claims (on a consolidated basis)

                 iii.    counsel to the administrative agent under the Debtors’ prepetition credit
                         facility;

                 iv.     counsel to Debtors’ prepetition sponsor;

                 v.      counsel to any official committee of unsecured creditors formed in these
                         chapter 11 cases;



                                                   7
       Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 8 of 30




                 vi.         all creditors and other known holders of claims against the Debtors as of the
                             date of entry of the Bar Date Order;

                 vii.        all entities that have requested notice of the proceedings in these chapter 11
                             cases pursuant to Bankruptcy Rule 2002 as of entry of the date of the Bar
                             Date Order;

                 viii.       all entities that have filed Proofs of Claim in these chapter 11 cases as of
                             the date of entry of the Bar Date Order;

                 ix.         all known non-Debtor equity and interest holders of the Debtors as of the
                             Petition Date;

                 x.          all entities who are party to executory contracts and unexpired leases with
                             the Debtors;

                 xi.         all entities who are party to active litigation with the Debtors;

                 xii.        all current and former employees for six months preceding the Petition Date
                             (to the extent that contact information for former employees is available in
                             the Debtors’ records);

                 xiii.       all regulatory authorities that regulate the Debtors’ businesses;

                 xiv.        the Office of the Attorney General for the State of Texas and each of the
                             states in which the Debtors conduct business;

                 xv.         the District Director of the Internal Revenue Service for the Southern
                             District of Texas;

                 xvi.        all other taxing authorities for the jurisdictions in which the Debtors
                             maintain or conduct business;

                 xvii.       all other entities listed on the Debtors’ creditor matrix;

                 xviii. the United States Securities and Exchange Commission; and

                 xix.        the Office of the United States Attorney for the Southern District of Texas.

       10.       The Debtors shall also post the Proof of Claim Form, and the Bar Date Notice on

the   Debtors’        case    website    maintained     by   the    Claims    and    Noticing    Agent   at

https://cases.stretto.com/CARD.

             B. Supplemental Mailings.




                                                        8
       Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 9 of 30




       11.      After the initial mailing of the Bar Date Packages, the Debtors may, in their

discretion, make supplemental mailings of notices or packages, including in the event that:

(a) notices are returned by the post office with forwarding addresses; (b) certain parties acting on

behalf of parties in interest decline to pass along notices to these parties and instead return their

names and addresses to the Debtors for direct mailing; and (c) additional potential claimants

become known as the result of the Bar Date mailing process. In this regard, the Debtors may make

supplemental mailings of the Bar Date Package in these and similar circumstances at any time up

to fourteen days in advance of the applicable Bar Date, with any such mailings being deemed

timely and such Bar Date being applicable to the recipient creditors. Consistent with the preceding

sentence, if any new potential creditors are discovered before the Claims Bar Date, the Debtors

shall mail a Bar Date Package to such parties, and the Debtors will work with such parties to make

reasonable accommodations in the event a request is made for an extension of the Claim Bar Date.

       12.      To the extent that any notices are returned as “return to sender” without a

forwarding address, the Debtors shall not be required to mail additional notices to such creditors.

             C. Publication Notice.

       13.      The Debtors shall cause notice of the Claims Bar Date and the Governmental Bar

Date to be given by publication to creditors to whom notice by mail is impracticable, including

creditors who are unknown or not reasonably ascertainable by the Debtors and creditors whose

identities are known but whose addresses are unknown by the Debtors. Specifically, the Debtors

shall cause the Bar Date Notice to be published as soon as reasonably practicable after entry of the

Bar Date Order, modified for publication in substantially the form attached hereto as Exhibit 3

(the “Publication Notice”), on one occasion in the national edition of The New York Times or

similar publication in the prudent exercise of the Debtors’ business judgment.




                                                 9
      Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 10 of 30




         14.     Notice of the Bar Dates as set forth in this Bar Date Order and in the manner set

forth herein (including, but not limited to, the Bar Date Notice, the Publication Notice, and any

supplemental notices that the Debtors may send from time to time) constitutes adequate and

sufficient notice of each of the Bar Dates and satisfies the requirements of the Bankruptcy Code,

the Bankruptcy Rules, and the Local Rules.

   VI.         CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM.

         15.     Any person or entity that is required, but fails, to file a Proof of Claim in accordance

with the Bar Date Order on or before the applicable Bar Date shall be forever barred, estopped,

and enjoined from asserting such claim against the Debtors and their chapter 11 estates (or filing

a Proof of Claim with respect thereto), and the Debtors and their property and estates shall be

forever discharged from any and all indebtedness or liability with respect to or arising from such

claim. Without limiting the foregoing sentence, any creditor asserting a claim entitled to priority

pursuant to Bankruptcy Code section 503(b)(9) that fails to file a Proof of Claim in accordance

with this Bar Date Order shall not be entitled to any priority treatment on account of such claim

pursuant to Bankruptcy Code section 503(b)(9). Such person or entity shall not be treated as a

creditor with respect to such claim for any purpose in these chapter 11 cases.

         16.     Any such entity that is required, but fails, to file a Proof of Claim in accordance

with the Bar Date Order on or before the applicable Bar Date shall be prohibited from: (a) subject

to the Solicitation Procedures, voting to accept or reject any chapter 11 plan filed in these chapter

11 cases; (b) participating in any distribution in these chapter 11 cases on account of such claim;

or (c) receiving further notices regarding such claim or these chapter 11 cases.

   VII.        MISCELLANEOUS.




                                                   10
      Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 11 of 30




       17.     To the extent there is any inconsistency between the terms of this Order, or any

action taken or proposed to be taken hereunder, and the terms of each interim and final order

entered by the Court in respect of the Debtors’ Emergency Motion for Entry of Interim and Final

Orders (I) Authorizing the Debtors to Obtain Postpetition Financing Pursuant to Section 364 of

the Bankruptcy Code, (II) Authorizing the Use of Cash Collateral Pursuant to Section 363 of the

Bankruptcy Code, (III) Granting Adequate Protection to the Prepetition First Lien Secured Parties

Pursuant to Sections 361, 362, 363, and 364 of the Bankruptcy Code, (IV) Granting Liens and

Superpriority Claims, (V) Modifying the Automatic Stay, and (VI) Scheduling a Final Hearing

filed substantially contemporaneously herewith (collectively, such interim and final orders, the

“DIP Order”), the terms of the DIP Order shall control.

       18.     The Claims and Noticing Agent is authorized to suppress or redact the names,

contact information, and other personal information of any natural person from the public claims

register it maintains on its website for these chapter 11 cases.

       19.     The Debtors are authorized to take all actions necessary or appropriate to effectuate

the relief granted pursuant to this Bar Date Order in accordance with the Motion.

       20.     This Bar Date Order shall be immediately effective and enforceable upon its entry.

       21.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       22.     All time periods set forth in this Bar Date Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).




                                                 11
      Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 12 of 30




       23.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Bar Date Order.

 Houston, Texas
 Dated: ___________, 2023

                                                  DAVID R. JONES
                                                  UNITED STATES BANKRUPTCY JUDGE




                                                12
Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 13 of 30




                             Exhibit 1

                        Proof of Claim Form
           Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 14 of 30
 Modified Official Form 410
 Proof of Claim                                                                                                                                             04/22


Fill in this information to identify the case:
Name of Debtor & Case Number:
    Center for Autism and Related Disorders, LLC (Case No. 23-90709)
    CARD Holdings, LLC (Case No. 23-90713)
    CARD Intermediate Holdings I, LLC (Case No. 23-90712)
    CARD Intermediate Holdings II, LLC (Case No. 23-90711)
    SKILLS Global, LLC (Case No. 23-90710)

United States Bankruptcy Court for the Southern District of Texas
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense (other than a claim entitled to priority under 11 U.S.C. § 503(b)(9)). Make such a
 request according to 11 U.S.C. § 503.
 Your filled-out form will be visible on a public website. You should redact (black out) sensitive information on this form or on any attached
 documents. See the "information that is entitled to privacy" and "redaction of information" sections in the instructions at the end of this
 form. Attach redacted copies of any documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of
 running accounts, contracts, judgments, mortgages, and security agreements. Do not send original documents; they may be destroyed after
 scanning. If the documents are not available, explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed.

 Part 1:     Identify the Claim

1. Who is the current
   creditor?                   ___________________________________________________________________________________________________________
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                  No
   someone else?                  Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?
                               _____________________________________________________                       _____________________________________________________
    Federal Rule of            Name                                                                        Name
    Bankruptcy Procedure
    (FRBP) 2002(g)             ______________________________________________________                      ______________________________________________________
                               Number      Street                                                          Number      Street

                               ______________________________________________________                      ______________________________________________________
                               City                       State             ZIP Code                       City                       State             ZIP Code

                               Contact phone    ________________________                                   Contact phone   ________________________

                               Contact email     ________________________                                  Contact email   ________________________



                               Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                               __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend          No
   one already filed?
                                  Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                            MM / DD       / YYYY



5. Do you know if anyone          No
   else has filed a proof         Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




    Official Form 410                                                    Proof of Claim                                                                           page 1
                     Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 15 of 30


 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?          $_____________________________. Does this amount include interest or other charges?
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                                       page 2
                     Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 16 of 30
12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $1,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the                    No
    claim entitled to                        Yes. Indicate the amount of your claim arising from the value of any                               $_____________________
    administrative                            goods received by the Debtor within twenty (20) days before the date of
    priority pursuant to                      commencement of the above case, in which the goods have been sold to
    11 U.S.C. § 503(b)(9)?                    the Debtor in the ordinary course of such Debtor’s business. Attach
                                              documentation supporting such claim.

 Part 3:     Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                _______________________________________________________________________________________________
                                                         Number        Street

                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                              Email         ____________________________________



 Official Form 410                                                           Proof of Claim                                                                                 page 3
                 Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 17 of 30




Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                            12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                           A Proof of Claim form and any attached documents
                                                                      must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the            number, individual’s tax identification number, or
   date the case was filed.                                           financial account number, and only the year of any
                                                                      person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                    For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,                   full name and address of the child’s parent or
   then state the identity of the last party who owned the            guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred           Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                      Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the      Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
                                                                   To receive confirmation that the claim has been filed, either
   definition of redaction on the next page.)
                                                                   enclose a stamped self-addressed envelope and a copy of this
   Also attach redacted copies of any documents that show          form or go to https://cases.stretto.com/CARD/claims/
   perfection of any security interest or any assignments or
   transfers of the debt. In addition to the documents, a
   summary may be added. Federal Rule of Bankruptcy
                                                                   Understand the terms used in this form
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                   Administrative expense: Generally, an expense that arises
                                                                   after a bankruptcy case is filed in connection with operating,
 Do not attach original documents because
   attachments may be destroyed after scanning.
                                                                   liquidating, or distributing the bankruptcy estate.
                                                                   11 U.S.C. § 503.

 If the claim is based on delivering health care goods
   or services, do not disclose confidential health care             Claim: A creditor’s right to receive payment for a debt that
   information. Leave out or redact confidential                    the debtor owed on the date the debtor filed for bankruptcy.
   information both in the claim and in the attached                11 U.S.C. §101 (5). A claim may be secured or unsecured.
   documents.
                 Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 18 of 30


Claim Pursuant to 11 U.S.C. §503(b)(9): A claim arising from      Secured claim under 11 U.S.C. §506(a): A claim backed by
the value of any goods received by the Debtor within 20 days      a lien on particular property of the debtor. A claim is secured
before the date of commencement of the above case, in which       to the extent that a creditor has the right to be paid from the
the goods have been sold to the Debtor in the ordinary course     property before other creditors are paid. The amount of a
of the Debtor's business. Attach documentation supporting         secured claim usually cannot be more than the value of the
such claim.                                                       particular property on which the creditor has a lien. Any
                                                                  amount owed to a creditor that is more than the value of the
                                                                  property normally may be an unsecured claim. But exceptions
Creditor: A person, corporation, or other entity to whom a
                                                                  exist; for example, see 11 U.S.C. § 1322(b) and the final
debtor owes a debt that was incurred on or before the date the
                                                                  sentence of 1325(a).
debtor filed for bankruptcy. 11 U.S.C. §101 (10).
                                                                  Examples of liens on property include a mortgage on real
Debtor: A person, corporation, or other entity who is in          estate or a security interest in a car. A lien may be voluntarily
bankruptcy. Use the debtor’s name and case number as shown        granted by a debtor or may be obtained through a court
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).      proceeding. In some states, a court judgment may be a lien.


Evidence of perfection: Evidence of perfection of a security      Setoff: Occurs when a creditor pays itself with money
interest may include documents showing that a security            belonging to the debtor that it is holding, or by canceling a
interest has been filed or recorded, such as a mortgage, lien,    debt it owes to the debtor.
certificate of title, or financing statement.
                                                                  Uniform claim identifier: An optional 24-character identifier
Information that is entitled to privacy: A Proof of Claim         that some creditors use to facilitate electronic payment.
form and any attached documents must show only the last 4
digits of any social security number, an individual’s tax         Unsecured claim: A claim that does not meet the
identification number, or a financial account number, only the    requirements of a secured claim. A claim may be unsecured in
initials of a minor’s name, and only the year of any person’s     part to the extent that the amount of the claim is more than the
date of birth. If a claim is based on delivering health care      value of the property on which a creditor has a lien.
goods or services, limit the disclosure of the goods or
services to avoid embarrassment or disclosure of confidential
health care information. You may later be required to give        Offers to purchase a claim
more information if the trustee or someone else in interest
objects to the claim.                                             Certain entities purchase claims for an amount that is less than
                                                                  the face value of the claims. These entities may contact
                                                                  creditors offering to purchase their claims. Some written
Priority claim: A claim within a category of unsecured claims
                                                                  communications from these entities may easily be confused
that is entitled to priority under 11 U.S.C. §507(a). These
                                                                  with official court documentation or communications from the
claims are paid from the available money or
                                                                  debtor. These entities do not represent the bankruptcy court,
property in a bankruptcy case before other unsecured
                                                                  the bankruptcy trustee, or the debtor. A creditor has no
claims are paid. Common priority unsecured claims
                                                                  obligation to sell its claim. However, if a creditor decides to
include alimony, child support, taxes, and certain unpaid
                                                                  sell its claim, any transfer of that claim is subject to
wages.
                                                                  Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
                                                                  Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
Proof of claim: A form that shows the amount of debt the          the bankruptcy court that apply.
debtor owed to a creditor on the date of the bankruptcy filing.
The form must be filed in the district where the case is
pending.


Redaction of information: Masking, editing out, or deleting
certain information to protect privacy. Filers must redact or
leave out information entitled to privacy on the Proof of
Claim form and any attached documents.


Do not file these instructions with your form.
Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 19 of 30




                             Exhibit 2

                      Proposed Bar Date Notice
         Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 20 of 30




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           )      Chapter 11
                                                                     )
    CENTER FOR AUTISM AND RELATED                                    )      Case No. 23-90709 (DRJ)
                            1
    DISORDERS, LLC, et al.,                                          )
                                                                     )
                              Debtors.                               )      (Joint Administration Requested)
                                                                     )

                      NOTICE OF DEADLINES FOR THE FILING
                 OF PROOFS OF CLAIM, INCLUDING REQUESTS FOR
             PAYMENT PURSUANT TO BANKRUPTCY CODE SECTION 503(b)(9)

TO:          ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST ANY
             OF THE FOLLOWING DEBTOR ENTITIES:

                               DEBTOR                                                             CASE NO.
    Center for Autism and Related Disorders, LLC                                                   23-90709
    CARD Holdings, LLC                                                                             23-90713
    CARD Intermediate Holdings I, LLC                                                              23-90712
    CARD Intermediate Holdings II, LLC                                                             23-90711
    SKILLS Global, LLC                                                                             23-90710

PLEASE TAKE NOTICE THAT:

        On June 11, 2023 (the “Petition Date”), Center for Autism and Related Disorders, LLC and
certain of its affiliates, as debtors and debtors in possession (collectively, the “Debtors”), each
filed a voluntary petition for relief under title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of Texas (the “Court”).

        On [●], 2023 the Court entered an order [Docket No. [●]] (the “Bar Date Order”) 2
establishing certain dates by which parties holding prepetition claims against the Debtors must file
proofs of claim, no matter how remote or contingent such right to payment or equitable remedy
may be, including requests for payment pursuant to Bankruptcy Code section 503(b)(9) (“Proofs
of Claim”).

1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Center for Autism and Related Disorders, LLC (1512); CARD Holdings, LLC (1453); CARD
      Intermediate Holdings I, LLC (N/A); CARD Intermediate Holdings II, LLC (3953); and SKILLS Global, LLC
      (4192). The location of the Debtors’ principal place of business is 9089 S Pecos Rd., Suite 3600, Henderson,
      Nevada 89074.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bar Date Order.
        Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 21 of 30




       For your convenience, enclosed with this notice (this “Notice”) is a Proof of Claim form,
which identifies on its face the amount, nature, and classification of your claim(s), if any. If the
Debtors believe that you hold claims against more than one Debtor, you will receive multiple Proof
of Claim forms, each of which will reflect the nature and amount of your claim. The Claims and
Noticing Agent is authorized to suppress or redact the names, contact information, and other
personal information of any natural person from the public claims register it maintains on its
website for these chapter 11 cases.

        As used in this Notice, the term “entity” has the meaning given to it in Bankruptcy Code
section 101(15), and includes all persons, estates, trusts, governmental units, and the Office of the
United States Trustee for the Southern District of Texas. In addition, the terms “persons” and
“governmental units” are defined in Bankruptcy Code sections 101(41) and 101(27), respectively.
The term “claim” means, as to or against the Debtors and in accordance with Bankruptcy Code
section 101(5): (a) any right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured; or (b) any right to an equitable remedy for breach of performance
if such breach gives rise to a right to payment, whether or not such right to an equitable remedy is
reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured.

   I.      THE BAR DATES.

       The Bar Date Order establishes the following bar dates for filing Proofs of Claim in these
chapter 11 cases (the “Bar Dates”).

               i.      The Claims Bar Date. Pursuant to the Bar Date Order, except as described
                       below, all entities (except governmental units) holding claims against the
                       Debtors that arose or are deemed to have arisen prior to the commencement
                       of these cases on the Petition Date, including requests for payment pursuant
                       to Bankruptcy Code section 503(b)(9), are required to file Proofs of Claim
                       so that they are actually received by August 10, 2023, at 5:00 p.m.,
                       prevailing Central Time. Except as expressly set forth in this Notice and
                       the Bar Date Order, the Claims Bar Date applies to all types of claims
                       against the Debtors that arose prior to the Petition Date, including secured
                       claims, unsecured priority claims, and unsecured non-priority claims.

               ii.     The Governmental Bar Date. Pursuant to the Bar Date Order, all
                       governmental units holding claims against the Debtors that arose or are
                       deemed to have arisen prior to the commencement of these cases on the
                       Petition Date are required to file Proofs of Claim so that they are actually
                       received by December 8, 2023, at 5:00 p.m., prevailing Central Time. The
                       Governmental Bar Date applies to all governmental units holding claims
                       against the Debtors (whether secured, unsecured priority, or unsecured non-
                       priority) that arose prior to the Petition Date, including governmental units
                       with claims against the Debtors for unpaid taxes (if any), whether such
                       claims arise from prepetition tax years or periods or prepetition transactions
                       to which the Debtors were a party.


                                                 2
      Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 22 of 30




               iii.    The Rejection Damages Bar Date. Pursuant to the Bar Date Order, all
                       entities holding claims arising from the Debtors’ rejection of executory
                       contracts and unexpired leases are required to file Proofs of Claim so that
                       they are actually received by the later of (i) the Claims Bar Date or the
                       Governmental Bar Date, as applicable, and (ii) 5:00 p.m., prevailing
                       Central Time, on the date that is thirty (30) days following (1) entry of the
                       order approving the Debtors’ rejection of the applicable executory
                       contract or unexpired lease, (2) the effective date of such rejection, and
                       (3) the effective date of the Debtors’ Joint Chapter 11 Plan of Center for
                       Autism and Related Disorders, LLC and its Debtor Affiliates, filed
                       concurrently herewith (the “Plan”).

     THE BAR DATES ESTABLISHED BY THE BAR DATE ORDER AND
REFERENCED IN THIS NOTICE SUPERSEDE ANY BAR DATES ESTABLISHED,
FILED, NOTICED, OR PREVIOUSLY SERVED IN THESE CHAPTER 11 CASES.

   II.     PARTIES WHO DO NOT NEED TO FILE PROOFS OF CLAIM.

        Certain parties are not required to file Proofs of Claim. The Court may, however, enter
one or more separate orders at a later time requiring creditors to file Proofs of Claim for some
kinds of the following claims and setting related deadlines. If the Court does enter such an order,
you will receive notice of it. The following entities holding claims that would otherwise be subject
to the Bar Dates, in the capacities described below, need not file Proofs of Claims:

               i.      the U.S. Trustee, on account of claims for fees payable pursuant to 28
                       U.S.C. § 1930;

               ii.     the Credit Facility Agent and Credit Facility Lenders (as defined in the
                       Plan);

               iii.    any entity that already has filed a signed Proof of Claim against the
                       applicable Debtor with the Claims and Noticing Agent in a form
                       substantially similar to Official Form 410 with respect to the claim asserted
                       therein;

               iv.     any entity whose claim has previously been allowed by a final order of this
                       Court;

               v.      any Debtor having a claim against another Debtor;

               vi.     any entity whose claim is solely against any non-Debtor affiliates;

               vii.    any entity whose claim has been paid in full by a Debtor pursuant to the
                       Bankruptcy Code or in accordance with a Court order;

               viii.   any counterparty to an executory contract or unexpired lease whose contract
                       or lease has been assumed or assumed and assigned by the Debtors, solely
                       with respect to claims arising under such contract or lease;


                                                 3
      Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 23 of 30




                ix.     a current employee of the Debtors, if an order of this Court authorized the
                        Debtors to honor such claim in the ordinary course of business as a wage,
                        commission, or benefit; provided that a current and former employee must
                        submit a Proof of Claim by the Claims Bar Date for all other claims arising
                        before the Petition Date, including claims for wrongful termination,
                        discrimination, harassment, hostile work environment, and/or retaliation;

                x.      any current or former officer, manager, director, or employee for claims
                        based on indemnification, contribution, or reimbursement;

                xi.     any entity holding a claim for which a separate deadline is fixed by this
                        Court;

                xii.    any entity holding a claim allowable under Bankruptcy Code sections
                        503(b) and 507(a)(2) as an expense of administration incurred in the
                        ordinary course, including any professionals retained by any creditors’
                        committee, or any other statutory committee, that assert administrative
                        claims for fees and expenses subject to the Court’s approval pursuant to
                        Bankruptcy Code sections 330 and 331, but in each case, solely to the extent
                        of such administrative claim(s); provided that any entity asserting a claim
                        entitled to priority under Bankruptcy Code section 503(b)(9) must assert
                        such claims by filing a request for payment or a Proof of Claim on or prior
                        to the Claims Bar Date;

                xiii.   any person or entity that is exempt from filing a Proof of Claim pursuant to
                        an order of the Court in these Chapter 11 cases, including, without
                        limitation, any person or entity not required to file a Proof of Claim pursuant
                        to any orders authorizing the use of cash collateral approved by this Court
                        in these chapter 11 cases, including the Credit Facility Agent and the Credit
                        Facility Lenders (as defined in the Plan); and

                xiv.    any entity holding an equity interest in any Debtor.

IV.      INSTRUCTIONS FOR FILING PROOFS OF CLAIM.

         The following requirements shall apply with respect to filing and preparing each Proof of
Claim:

                i.      Contents. Each Proof of Claim must: (i) be written in legible English; (ii)
                        include a claim amount denominated in United States dollars; (iii) conform
                        substantially with the Proof of Claim Form provided by the Debtors or
                        Official Form 410; and (iv) be signed by the claimant or by an authorized
                        agent or legal representative of the claimant on behalf of the claimant,
                        whether such signature is an electronic signature or is ink.

                ii.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                        priority under Bankruptcy Code section 503(b)(9) must also: (i) include the
                        value of the goods delivered to and received by the Debtors in the twenty


                                                   4
Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 24 of 30




             (20) days prior to the Petition Date; (ii) attach any documentation
             identifying the particular invoices for which such claim is being asserted;
             and (iii) attach documentation of any reclamation demand made to the
             Debtors under Bankruptcy Code section 546(c) (if applicable).

      iii.   Electronic Signatures Permitted. Only original Proofs of Claim signed
             electronically or in ink by the claimant or an authorized agent or legal
             representative of the claimant may be deemed acceptable for purposes of
             claims administration. Copies of Proofs of Claim, or Proofs of Claim sent
             by facsimile or electronic mail, will not be accepted.

      iv.    Identification of the Debtor Entity. Each Proof of Claim must clearly
             identify the specific Debtor against which a claim is asserted, including the
             individual Debtor’s case number. A Proof of Claim filed under the joint
             administration case number (No. 23-90709), or otherwise without
             identifying a specific Debtor, will be deemed as filed only against Center
             for Autism and Related Disorders, LLC.

      v.     Claim Against Multiple Debtor Entities. Each Proof of Claim must state a
             claim against only one Debtor and clearly indicate the Debtor against which
             the claim is asserted. To the extent more than one Debtor is listed on the
             Proof of Claim, such claim will be treated as if filed only against Center for
             Autism and Related Disorders, LLC.

      vi.    Supporting Documentation. Each Proof of Claim must include supporting
             documentation in accordance with Bankruptcy Rules 3001(c) and 3001(d).
             If, however, such documentation is voluminous, such Proof of Claim may
             include a summary of such documentation or an explanation as to why such
             documentation is not available; provided that any creditor that received such
             written consent shall be required to transmit such documentation to
             Debtors’ counsel upon request no later than ten (10) days from the date of
             such request. Any supporting documentation that includes personally
             identifiable information should be redacted or hidden prior to submission.

      vii.   Timely Service. Each Proof of Claim must be filed or submitted, including
             supporting documentation, through any of the following methods:
             (i) electronic submission through the Electronic Case Filing system at
             https://ecf.txsb.uscourts.gov/, (ii) electronic submission using the interface
             available on the Claims and Noticing Agent’s website at
             https://cases.stretto.com/CARD or (iii) if submitted through non-electronic
             means, by U.S. mail or other hand delivery system, so as to be actually
             received by the Claims and Noticing Agent on or before the Claims Bar
             Date, the Governmental Bar Date, or other applicable Bar Date, as
             applicable, at the following address:




                                       5
      Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 25 of 30




                               If by First-Class Mail, Hand Delivery or Overnight Mail:

                         Center for Autism and Related Disorders, LLC, et al. Claims Processing
                                                     c/o Stretto Inc.
                                               410 Exchange, Suite 100
                                                   Irvine, CA 92602

                    PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR ELECTRONIC
                                 MAIL WILL NOT BE ACCEPTED.

               viii.    Receipt of Service. Claimants submitting a Proof of Claim through non-
                        electronic means wishing to receive acknowledgment that their Proofs of
                        Claim were received by the Claims and Noticing Agent must submit (i) a
                        copy of the Proof of Claim Form (in addition to the original Proof of Claim
                        Form sent to the Claims and Noticing Agent) and (ii) a self-addressed,
                        stamped envelope.

V.     CONSEQUENCES OF FAILING TO TIMELY FILE YOUR PROOF OF CLAIM.

        Pursuant to the Bar Date Order and in accordance with Bankruptcy Rule 3003(c)(2), if you
or any party or entity who is required, but fails, to file a Proof of Claim in accordance with the Bar
Date Order on or before the applicable Bar Date, please be advised that:

               i.       YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED
                        FROM ASSERTING SUCH CLAIM AGAINST THE DEBTORS (OR
                        FILING A PROOF OF CLAIM WITH RESPECT THERETO);

               ii.      THE DEBTORS AND THEIR PROPERTY SHALL BE FOREVER
                        DISCHARGED FROM ANY AND ALL INDEBTEDNESS OR
                        LIABILITY WITH RESPECT TO OR ARISING FROM SUCH CLAIM;

               iii.     YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE
                        CHAPTER 11 CASES ON ACCOUNT OF THAT CLAIM; AND

               iv.      SUBJECT TO THE SOLICITATION PROCEDURES, YOU WILL NOT
                        BE PERMITTED TO VOTE ON ANY CHAPTER 11 PLAN OR PLANS
                        FOR THE DEBTORS ON ACCOUNT OF THESE BARRED CLAIMS
                        OR RECEIVE FURTHER NOTICES REGARDING SUCH CLAIM.

VI.    RESERVATION OF RIGHTS.

        Nothing contained in this Notice is intended to or should be construed as a waiver of the
Debtors’ right to: (a) dispute, or assert offsets or defenses against, any filed claim or any claim
listed or reflected in the List of Known Claims as to the nature, amount, liability, or classification
thereof; and (b) subsequently designate any claim as disputed, contingent, or unliquidated.




                                                  6
       Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 26 of 30




VII.    ADDITIONAL INFORMATION.

        Copies of the Debtors’ Bar Date Order, and other information regarding these chapter 11
cases are available for inspection free of charge on the Debtors’ website at
https://cases.stretto.com/CARD. The other filings in these chapter 11 cases also are available for
a fee at the Court’s website at https://ecf.txsb.uscourts.gov/. A login identification and password
to the Court’s Public Access to Court Electronic Records (“PACER”) are required to access this
information and can be obtained through the PACER Service Center at
http://www.pacer.uscourts.gov. Copies of the other documents filed in these cases also may be
examined between the hours of 8:00 a.m. and 5:00 p.m., prevailing Central Time, Monday through
Friday, at the office of the Clerk of the Bankruptcy Court, United States Bankruptcy Court for the
Southern District of Texas, United States Courthouse, 515 Rusk Street, Houston, Texas 77002.

        If you require additional information regarding the filing of a Proof of Claim, you may
contact the Debtors’ restructuring hotline at: (855) 925-7872 (Toll Free U.S. and Canada); or (949)
892-1668 (International).

A HOLDER OF A POSSIBLE CLAIM AGAINST THE DEBTORS SHOULD CONSULT
AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY THIS NOTICE,
    SUCH AS WHETHER THE HOLDER SHOULD FILE A PROOF OF CLAIM.




                                                7
Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 27 of 30




                              Exhibit 3

                     Proposed Publication Notice
       Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 28 of 30




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                  )
 In re:                                                           )      Chapter 11
                                                                  )
 CENTER FOR AUTISM AND RELATED                                    )      Case No. 23-90709 (DRJ)
                         14
 DISORDERS, LLC, et al.,                                          )
                                                                  )
                             Debtors.                             )      (Joint Administration Requested)
                                                                  )
                                                                  )      Re: Docket No.

                    NOTICE OF DEADLINES FOR THE FILING
               OF PROOFS OF CLAIM, INCLUDING REQUESTS FOR
           PAYMENT PURSUANT TO BANKRUPTCY CODE SECTION 503(b)(9)

      THE CLAIMS BAR DATE IS AUGUST 10, 2023, AT 5:00 P.M. (PREVAILING CENTRAL
                                     TIME)
     THE GOVERNMENTAL BAR DATE IS DECEMBER 8, 2023, AT 5:00 P.M. (PREVAILING
                                CENTRAL TIME)

PLEASE TAKE NOTICE OF THE FOLLOWING:

        Deadlines for Filing Proofs of Claim. On [●], 2023, the United States Bankruptcy Court
for the Southern District of Texas (the “Court”) entered an order [Docket No. [●]] (the “Bar Date
Order”) establishing certain deadlines for the filing of proofs of claim, including requests for
payment under Bankruptcy Code section 503(b)(9) (“Proofs of Claim”), in these chapter 11 cases
of the following debtors and debtors in possession (collectively, the “Debtors”):

                            DEBTOR                                                             CASE NO.
 Center for Autism and Related Disorders, LLC                                                   23-90709
 CARD Holdings, LLC                                                                             23-90713
 CARD Intermediate Holdings I, LLC                                                              23-90712
 CARD Intermediate Holdings II, LLC                                                             23-90711
 SKILLS Global, LLC                                                                             23-90710

       The Bar Dates. Pursuant to the Bar Date Order, all entities (except governmental units),
including individuals, partnerships, estates, and trusts that have a claim or potential claim against
the Debtors that arose prior to June 11, 2023, no matter how remote or contingent such right to
14
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Center for Autism and Related Disorders, LLC (1512); CARD Holdings, LLC (1453); CARD
     Intermediate Holdings I, LLC (N/A); CARD Intermediate Holdings II, LLC (3953); and SKILLS Global, LLC
     (4192). The location of the Debtors’ principal place of business is 9089 S Pecos Rd., Suite 3600, Henderson,
     Nevada 89074.
      Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 29 of 30




payment or equitable remedy may be, including requests for payment under Bankruptcy Code
section 503(b)(9), MUST FILE A PROOF OF CLAIM on or before August 10, 2023, at 5:00 p.m.,
prevailing Central Time (the “Claims Bar Date”). Governmental entities that have a claim or
potential claim against the Debtors that arose prior to June 11, 2023, no matter how remote or
contingent such right to payment or equitable remedy may be, MUST FILE A PROOF OF CLAIM
on or before December 8, 2023, at 5:00 p.m., prevailing Central Time (the “Governmental Bar
Date”). All entities holding claims arising from the Debtors’ rejection of executory contracts and
unexpired leases are required to file Proofs of Claim by the date that is the later of (a) the Claims
Bar Date or the Governmental Bar Date (to the extent the claim is held by a governmental unit),
as applicable, and (b) the date that is thirty (30) days following (1) entry of the order approving
the Debtors’ rejection of the applicable executory contract or unexpired lease, (2) the effective
date of such rejection, and (3) the effective date of the Debtors’ Joint Chapter 11 Plan of Center
for Autism and Related Disorders, LLC and its Debtor Affiliates, filed concurrently herewith
(the “Rejection Damages Bar Date”).

THE BAR DATES ESTABLISHED BY THE BAR DATE ORDER AND REFERENCED
IN THIS NOTICE SUPERSEDE ANY BAR DATES ESTABLISHED, FILED, NOTICED,
OR PREVIOUSLY SERVED IN THESE CHAPTER 11 CASES.

ANY PERSON OR ENTITY WHO FAILS TO FILE A PROOF OF CLAIM, INCLUDING
ANY REQUEST FOR PAYMENT UNDER BANKRUPTCY CODE SECTION 503(B)(9),
ON OR BEFORE THE CLAIMS BAR DATE OR THE GOVERNMENTAL BAR DATE,
AS APPLICABLE, SHALL NOT BE TREATED AS A CREDITOR WITH RESPECT TO
SUCH CLAIM FOR THE PURPOSES OF VOTING AND DISTRIBUTION ON ANY
CHAPTER 11 PLAN.

        Filing a Proof of Claim. Each Proof of Claim must be filed or submitted, including
supporting documentation, through any of the following methods: (i) electronic submission
through the Electronic Case Filing system at https://ecf.txsb.uscourts.gov/, (ii) electronic
submission using the interface available on the Claims and Noticing Agent’s website at
https://cases.stretto.com/CARD or (iii) if submitted through non-electronic means, by U.S. mail or
other hand delivery system, so as to be actually received by the Claims and Noticing Agent on or
before the Claims Bar Date, the Governmental Bar Date, or other applicable Bar Date, as
applicable, at the following address:

                  If by First-Class Mail, Hand Delivery or Overnight Mail:
             Center for Autism and Related Disorders, LLC, et al. Claims Processing
                                           c/o Stretto
                                    410 Exchange, Suite 100
                                       Irvine, CA 92602

        Contents of Proofs of Claim. Each Proof of Claim must: (a) be written in legible English;
(b) include a claim amount denominated in United States dollars; (c) clearly identify the specific
Debtor against which the claim is asserted; (d) conform substantially with the Proof of Claim form
provided by the Debtors or Official Form 410; (e) be signed by the claimant or by an authorized
agent or legal representative of the claimant on behalf of the claimant, whether such signature is
an electronic signature or is ink; and (f) include as attachments any and all supporting


                                                 2
      Case 23-90709 Document 15-1 Filed in TXSB on 06/12/23 Page 30 of 30




documentation on which the claim is based. Please note that each Proof of Claim must state a
claim against only one Debtor and clearly indicate the specific Debtor against which the claim is
asserted. To the extent more than one Debtor is listed on the Proof of Claim, a Proof of Claim is
treated as if filed only against Center for Autism and Related Disorders, LLC, or if a Proof of
Claim is otherwise filed without identifying a specific Debtor, the Proof of Claim may be deemed
as filed only against Center for Autism and Related Disorders, LLC. The Claims and Noticing
Agent is authorized to suppress or redact the names, contact information, and other personal
information of any natural person from the public claims register it maintains on its website for
these chapter 11 cases.

       Electronic Signatures Permitted. Proofs of Claim signed electronically or in ink by the
claimant or an authorized agent or legal representative of the claimant may be deemed acceptable
for purposes of claims administration. Copies of Proofs of Claim, or Proofs of Claim sent by
facsimile or electronic mail, will not be accepted.

        Section 503(b)(9) Requests for Payment. Any Proof of Claim that asserts a right to
payment arising under Bankruptcy Code section 503(b)(9) must also: (a) include the value of the
goods delivered to and received by the Debtors in the twenty (20) days prior to the Petition Date;
(b) attach any documentation identifying the particular invoices for which such claim is being
asserted; and (c) attach documentation of any reclamation demand made to the Debtors under
Bankruptcy Code section 546(c) (if applicable).

        Additional Information. If you have any questions regarding the claims process and/or
you wish to obtain a copy of the Bar Date Notice, a proof of claim form or related documents you
may do so by: (a) calling the Debtors’ restructuring hotline at (855) 925-7872 (Toll Free U.S. and
Canada); or (949) 892-1668 (International); and/or (b) visiting the Debtors’ restructuring website
at: https://cases.stretto.com/CARD.




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